Case 3:10-cr-03617-BEN   Document 235   Filed 08/11/11   PageID.1271   Page 1 of 6
Case 3:10-cr-03617-BEN   Document 235   Filed 08/11/11   PageID.1272   Page 2 of 6
Case 3:10-cr-03617-BEN   Document 235   Filed 08/11/11   PageID.1273   Page 3 of 6
Case 3:10-cr-03617-BEN   Document 235   Filed 08/11/11   PageID.1274   Page 4 of 6
Case 3:10-cr-03617-BEN   Document 235   Filed 08/11/11   PageID.1275   Page 5 of 6
Case 3:10-cr-03617-BEN   Document 235   Filed 08/11/11   PageID.1276   Page 6 of 6
